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                  IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

 ANABEL VALENZUELA (2),        )            CRIM. NO. 07-00615 SOM
                               )            CIV. NO 11-00750 SOM/RLP
                Petitioner,    )
                               )            ORDER DENYING MOTION TO
           vs.                 )            VACATE, SET ASIDE, OR CORRECT
                               )            A SENTENCE BY A PERSON IN
 UNITED STATES OF AMERICA,     )            FEDERAL CUSTODY UNDER 28
                               )            U.S.C. § 2255; ORDER DENYING
                Respondent.    )            CERTIFICATE OF APPEALABILITY
 _____________________________ )


  ORDER DENYING MOTION TO VACATE, SET ASIDE, OR CORRECT A SENTENCE
       BY A PERSON IN FEDERAL CUSTODY UNDER 28 U.S.C. § 2255;
              ORDER DENYING CERTIFICATE OF APPEALABILITY

 I.         INTRODUCTION.

            Anabel Valenzuela is a convicted drug dealer.              She was

 convicted by a jury of a conspiracy to launder money and a

 conspiracy to distribute and possess with intent to distribute in

 excess of fifty (50) grams of methamphetamine, its salts,

 isomers, and salts of its isomers.          With respect to her drug

 conspiracy conviction, Valenzuela was sentenced based in part on

 her leadership role in a conspiracy involving nearly 2,000 pounds

 of methamphetamine.

            On December 9, 2011, Valenzuela filed the present

 § 2255 petition.        Because her arguments lack merit or are

 procedurally barred, the petition is denied.              The court declines

 to issue a certificate of appealability.
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 II.        BACKGROUND.

            On September 2, 2008, a jury convicted Valenzuela of

 conspiring to distribute and possess with intent to distribute in

 excess of fifty (50) grams of methamphetamine, its salts,

 isomers, and salts of its isomers.            See Verdict, Count 1, ECF No.

 373, Sept. 2, 2008; First Superseding Indictment, ECF No. 264,

 July 2, 2008.    Valenzuela was also convicted of conspiring to

 launder money.    See Verdict, Count 3, ECF No. 373, Sept. 2, 2008;

 First Superseding Indictment, ECF No. 264, July 2, 2008.                  The

 following day, September 3, 2008, the jury returned a Special

 Verdict Form for Forfeiture, determining that the properties

 identified in Counts 2 and 4 of the indictment were subject to

 forfeiture.

            On January 5, 2009, the court sentenced Valenzuela to

 384 months of imprisonment and 5 years of supervised release on

 the drug conspiracy count, and 240 months of imprisonment and 3

 years of supervised release on the money laundering conspiracy

 count, along with a total of $200 in special assessments.                  The

 court ordered the terms of imprisonment to be served

 concurrently.    See Entering Proceeding, ECF No. 440, Jan. 5,

 2009; Judgment, ECF No. 445, Jan. 9, 2009.

            In sentencing Valenzuela, the court adopted the

 Presentence Investigation Report and determined that Valenzuela’s

 total offense level was 46.      See Transcript of Proceedings (Jan.


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 5, 2009) at 10, ECF No. 575, May 5, 2009.               Based on the amount of

 methamphetamine involved (907.2 kilograms), Valenzuela had a base

 offense level of 38.       She received a two-level increase for

 having been convicted of an 18 U.S.C. § 1956 violation, a four-

 level increase for her role in the offense, and a two-level

 increase for obstructing justice.

             On January 15, 2009, Valenzuela appealed.                See Notice

 of Appeal, ECF No. 452, Jan. 15, 2009.

             On December 15, 2010, the Ninth Circuit affirmed

 Valenzuela’s conviction and sentence in an unpublished memorandum

 decision.       See United States v. Acuna, 2010 WL 5188977 (9th Cir.

 Dec. 15, 2010), ECF No. 636.       The Ninth Circuit determined that

 “[t]here was sufficient evidence supporting the convictions, as

 the evidence demonstrated that Acuna, Valenzuela, and Olguin were

 leaders and organizers in the single conspiracy alleged in the

 indictment.”1      Id. at 3.   The Ninth Circuit also determined that

 this court “did not clearly err in imposing a two-level

 enhancement to Valenzuela’s sentence for obstruction of justice.”

 Id. at 6.

             On December 9, 2011, Valenzuela filed the present

 petition under § 2255 to vacate, set aside or correct a sentence.


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            Two conspiracies were actually alleged (a drug
 conspiracy and a money laundering conspiracy). Although Acuna,
 Valenzuela, and Olguin were allegedly involved in both
 conspiracies, only Acuna and Valenzuela were charged in the money
 laundering conspiracy count.

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 See ECF No. 648, Dec. 9, 2012.         Valenzuela raises two arguments.

 First, she claims that her attorney was ineffective in failing to

 ensure that the jury included Hispanic persons.                 Valenzuela says

 that, because the jury was made up of “all Hawaiian people,” and

 because the prosecutor and this judge were also “Hawaiian,” the

 jury was biased against her.      Second, Valenzuela raises a

 Booker/Blakeley challenge, arguing that the court improperly

 applied various sentencing enhancements and that her attorney was

 ineffective in allowing those enhancements.

             The court held a hearing at which oral argument, but no

 sworn testimony, was allowed.          The court now denies Valenzuela’s

 petition without holding an evidentiary hearing, as the record

 before the court conclusively demonstrates that Valenzuela is not

 entitled to § 2255 relief.      See 28 U.S.C. § 2255(b) (requiring a

 hearing “[u]nless the motion and the files and records of the

 case conclusively show that the prisoner is entitled to no

 relief”).

 III.        ANALYSIS.

             A federal prisoner may move to vacate, set aside, or

 correct his or her sentence if it “was imposed in violation of

 the Constitution or laws of the United States, . . . the court

 was without jurisdiction to impose such sentence, or . . . the

 sentence was in excess of the maximum authorized by law, or is

 otherwise subject to collateral attack.”               28 U.S.C. § 2255.

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 There are limitations on the kinds of claims that can and cannot

 be raised in a § 2255 petition.

            For example, a § 2255 petition cannot be based on a

 claim that has already been disposed of by an underlying criminal

 judgment and appeal.      As the Ninth Circuit stated in Olney v.

 United States, 433 F.2d 161, 162 (9th Cir. 1970), “Having raised

 this point unsuccessfully on direct appeal, appellant cannot now

 seek to relitigate it as part of a petition under § 2255.”

            Even when a § 2255 petitioner has not raised an alleged

 error either at trial or on direct appeal, the petitioner is

 procedurally barred from raising an issue in a § 2255 petition if

 it could have been raised earlier, unless the petitioner can

 demonstrate both “cause” for the delay and “prejudice” resulting

 from the alleged error.      As the Court said in United States v.

 Frady, 456 U.S. 152, 167-68 (1982), “[T]o obtain collateral

 relief based on trial errors to which no contemporaneous

 objection was made, a convicted defendant must show both

 (1) ‘cause’ excusing his double procedural default, and

 (2) ‘actual prejudice’ resulting from the errors of which he

 complains.”    Id.; accord Davis v. United States, 411 U.S. 233,

 242 (1973).    To show “actual prejudice,” a § 2255 petitioner

 “must shoulder the burden of showing, not merely that the errors



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 at [her] trial created a possibility of prejudice, but that they

 worked to [her] actual and substantial disadvantage, infecting

 [her] entire trial with error of constitutional dimensions.”

 Frady, 456 U.S. at 170.

            Although Valenzuela’s claims are couched as ineffective

 assistance of counsel claims, her claims are procedurally barred

 because she could have raised the matters earlier.                   Even if the

 court examined her claims, she would not succeed, as she fails to

 show ineffective assistance of counsel.                 That is, she fails to

 show that (1) her counsel’s performance was deficient, and

 (2) the deficient performance prejudiced her defense.                    Strickland

 v. Washington, 466 U.S. 668, 687 (1984).                 There is “a strong

 presumption” that counsel’s conduct was reasonable and that

 counsel’s representation did not fall below “an objective

 standard of reasonableness” under “prevailing professional

 norms.”   Id. at 688.       Even if a petitioner can overcome the

 presumption of effectiveness, the petitioner must still

 demonstrate a “reasonable probability that, but for counsel’s

 unprofessional errors, the result of the proceeding would have

 been different.”        Id. at 694.      Because “[i]t is all too tempting

 for a defendant to second-guess counsel’s assistance after




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 conviction,” judicial scrutiny of counsel’s performance is highly

 deferential.    Id. at 689.

            A.    Counsel Was Not Ineffective In Failing to Ensure
                  That the Jury Contained at Least One Hispanic
                  Person.

            Valenzuela contends that her counsel was ineffective

 because he did not ensure that she was tried before a jury of her

 peers, which she says had to include at least one Hispanic

 person.   Valenzuela indicates that her jury, the judge, and the

 prosecuting attorney were all “Hawaiian.”              The court interprets

 this statement as referring to individuals who reside in Hawaii,

 as opposed to referring to individuals of native Hawaiian blood.

 That is, as Valenzuela fails to point to any basis for asserting

 that all jurors, the judge, and the Assistant United States

 Attorney were racially Hawaiian, the Court treats “Hawaiian” as

 analogous to “Californian.”

            Valenzuela could have challenged the make up of her

 jury on direct appeal.      Having not done so, Valenzuela may not

 raise it in the present § 2255 petition without showing both

 cause and actual prejudice.      See Frady, 456 U.S. at 167-68.              She

 shows neither.    Even assuming that her counsel prevented her from

 raising the issue earlier or that she otherwise showed cause for




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 her failure to raise the issue on direct appeal, Valenzuela’s

 challenge fails, as she shows no prejudice.

            Under the Sixth Amendment of the United States

 Constitution and the Federal Jury Service and Selection Act of

 1968, 28 U.S.C. §§ 1861-78, a criminal defendant is guaranteed

 the right to be tried by an impartial jury drawn from a

 representative cross-section of the community.                Accordingly, the

 right to a jury “necessarily contemplates an impartial jury drawn

 from a cross-section of the community.”              Thiel v. S. Pac. Co.,

 328 U.S. 217, 220 (1946); United States v. Mitchell, 502 F.3d

 931, 949 (9th Cir. 2007).     This does not mean, however, that

 every jury must contain representatives of all economic, social,

 religious, racial, political, and geographical groups in the

 community.    A defendant is guaranteed only that prospective

 jurors will be selected by court officials without systematic and

 intentional exclusion of any group.            Thiel, 328 U.S. at 220;

 United States v. Esquivel, 88 F.3d 722, 724-25 (9th Cir. 1996).

            “A defendant establishes a prima facie violation of the

 fair-cross-section requirement by showing (1) that the group

 alleged to be excluded is a ‘distinctive’ group in the community;

 (2) that the representation of this group in venires from which

 juries are selected is not fair and reasonable in relation to the



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 number of such persons in the community; and (3) that this

 underrepresentation is due to systematic exclusion of the group

 in the jury-selection process.”        Mitchell, 502 F.3d at 950.

 Valenzuela fails to show that this court did not properly select

 the jury from a representative cross-section of the community, as

 she fails to show that Hispanics were underrepresented in the

 court’s jury pool.

            The court additionally rejects Valenzuela’s argument

 that there needed to be at least one Hispanic person on the jury

 to ensure that she was tried by a jury of her peers.                 Although

 Valenzuela had the right to be tried by a jury whose members were

 selected using nondiscriminatory criteria, she had no right to a

 jury composed in whole or in part of Hispanic persons.                 See

 Powers v. Ohio, 499 U.S. 400, 404 (1991) (noting that “a

 defendant has no right to a petit jury composed in whole or in

 part of persons of the defendant’s own race” (quotations and

 citation omitted)); Mitchell, 502 F.3d at 950 (“a violation of

 the fair cross-section requirement cannot be premised upon proof

 of underrepresentation in a single jury.              While juries must be

 drawn from a source fairly representative of the community, the

 composition of each jury need not mirror that of the community”

 (quotation and citation omitted)).



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             Valenzuela is not arguing that Hispanics were

 systematically excluded from her particular jury.              See Powers,

 499 U.S. at 404 (noting that a defendant has a right to be tried

 by a jury whose members are selected based on nondiscriminatory

 criteria).    She appears instead to be arguing that her particular

 jury lacked Hispanics.      Nothing in the record indicates the race

 or ethnicity of the jurors.       At most, the record indicates their

 names.    See Transcript of Proceedings of August 6, 2008, at 180,

 ECF No. 568.     The record does not indicate whether particular

 jurors were of mixed race, or whether, because of, for example,

 adoption or marriage, a juror’s surname might not reflect the

 juror’s race or ethnicity.       In short, neither through the nature

 of her argument nor in the facts in the record does Valenzuela

 establish prejudice.

             B.    Blakely and Booker Do Not Justify Relief.

             Valenzuela argues that her sentence was improperly

 enhanced in violation of Blakely and Booker, and that her

 attorney was ineffective in failing to raise that argument.                This

 court disagrees.

             Valenzuela’s argument originates out of Apprendi v. New

 Jersey, 530 U.S. 466 (2000), which held that, “[o]ther than the

 fact of a prior conviction, any fact that increases the penalty



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 for a crime beyond the prescribed statutory maximum must be

 submitted to a jury, and proved beyond a reasonable doubt.”                Id.

 at 490.    In Blakely v. Washington, 542 U.S. 296 (2004), the

 Supreme Court clarified that “the ‘statutory maximum’ for

 Apprendi purposes is the maximum sentence a judge may impose

 solely on the basis of the facts reflected in the jury verdict or

 admitted by the defendant.”       Id. at 303.       The Supreme Court

 explained:

             In other words, the relevant “statutory
             maximum” is not the maximum sentence a judge
             may impose after finding additional facts,
             but the maximum he may impose without any
             additional findings. When a judge inflicts
             punishment that the jury’s verdict alone does
             not allow, the jury has not found all the
             facts “which the law makes essential to the
             punishment,” . . . and the judge exceeds his
             proper authority.

 Id. at 303-04.

             In United States v. Booker, 543 U.S. 220 (2005), the

 Supreme Court reaffirmed its holding in Apprendi, stating, “Any

 fact (other than a prior conviction) which is necessary to

 support a sentence exceeding the maximum authorized by the facts

 established by a plea of guilty or a jury verdict must be

 admitted by the defendant or proved to a jury beyond a reasonable

 doubt.”    Id. at 244.




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             Valenzuela argues that, because she did not admit to a

 leadership role and the jury did not find that she was a leader

 based on a “beyond the reasonable doubt” standard, the court

 violated Blakely and Booker by adding four levels to her base

 offense level.2     The Ninth Circuit, however, has already rejected

 Valenzuela’s claim that she was not a leader.             In its Memorandum

 Disposition, the Ninth Circuit stated that “the evidence

 demonstrated that . . . Valenzuela . . . [was a] leader[] and

 organizer[] in the single conspiracy alleged in the indictment.”

 See ECF No. 636 at 3.      Because Valenzuela was unsuccessful in




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            In the conclusion of her memorandum, Valenzuela
 implies that all Defendants who take the stand and are found
 guilty are subject to the “obstruction” enhancement. That is
 simply not the case, as the “obstruction” enhancement is not
 automatic. For example, in Valenzuela’s case, the “obstruction”
 enhancement was added because the court determined that it was
 supported by the record. See Transcript of Proceeding of January
 5, 2009, at 10, ECF No. 575. At trial, Valenzuela testified that
 she had not sold drugs, that she had not distributed drugs, and
 the she had not received the proceeds from drugs. See Transcript
 of Proceeding of August 27, 2008, at 12-108, 12-132, ECF No. 564.
 She also denied having been part of any conspiracy to send drugs
 from Las Vegas to Hawaii. See id. at 12-80. When those
 statements are compared to the jury verdict, it is clear that the
 “obstruction” enhancement was appropriate, but it is not the case
 that every defendant who is convicted after testifying
 automatically receives that enhancement. A defendant whose
 testimony goes to an immaterial matter might not receive an
 obstruction enhancement. Alternatively, a judge who concludes
 that a defendant’s testimony was inaccurate because of a
 genuinely faulty memory or perception would be unlikely to apply
 an obstruction enhancement.

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 arguing this point on appeal, she may not now raise it.               See

 Olney, 433 F.2d at 162.

             In any event, the enhancements to her base offense

 level did not violate Apprendi, Blakely, or Booker because she

 did not receive a sentence greater than the statutory maximum.

 See United States v. Saya, 247 F.3d 929, 942 (9th Cir. 2001) (“We

 have held repeatedly that a defendant cannot obtain relief under

 Apprendi when his sentence does not exceed the statutory maximum

 authorized by the jury’s verdict, even if the district court

 determined the drug amount by a preponderance of the evidence,

 instead of having the jury determine the amount beyond a

 reasonable doubt.”).      The statutory maximum based on the verdict

 was life imprisonment.      See 21 U.S.C. § 841(b)(1).          Valenzuela’s

 attorney could not have been ineffective in failing to make an

 argument based on Apprendi, Blakely, or Booker because

 Valenzuela’s sentence, even with the enhancements applied at

 sentencing, was less than life.         The absence of jury findings

 increasing Valenzuela’s offense level using a beyond-a-

 reasonable-doubt standard therefore does not justify § 2255

 relief.

             Recognizing that Booker held that the sentencing

 guidelines were advisory, the court expressly stated that they



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 were “advisory only.”      See Transcript of Proceedings of January

 5, 2009, at 10, ECF No. 568.       Indeed, the guideline range was

 life.    See id. at 8, 10.     As with the statutory maximum,

 Valenzuela’s sentence was less than the guideline range.

 Valenzuela’s counsel argued that the leadership enhancement was

 inapplicable as a factual matter, not based on Apprendi, Blakely,

 or Booker.    See id. at 3-6, 8, 10.        Valenzuela, having made a

 meritless Apprendi, Blakely, and Booker argument, shows no

 prejudice in that regard.

             C.    Other Arguments Do Not Justify § 2255 Relief.

             In her conclusion (but not in the body of her petition

 or memorandum), Valenzuela contends that “her sentence was

 unreasonable and that the Court did not impose a sentence

 sufficient, but not greater than necessary, to comply with the

 purposes of sentencing.”       This argument was not raised on appeal

 and Valenzuela advances no reason why it could not have been so

 raised.    Valenzuela is thus barred from raising the argument in

 this motion.     Frady, 456 U.S. at 167-68.         Valenzuela simply fails

 to demonstrate the cause and actual prejudice necessary to raise

 the matter in the present § 2255 petition.

             At the hearing on this matter on May 15, 2012,

 Valenzuela, echoing an argument made by Defendant Benjamin Acuna



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 (Valenzuela’s spouse), for the first time contended that she had

 not understood that she could have pled guilty.              She said she

 might have pled guilty to the money laundering conspiracy and

 gone to trial on only the drug conspiracy or at least contested

 the drug amount.        This argument is untimely, as Valenzuela

 advanced no reason at the hearing for having failed to raise it

 within one year of March 2011, when her judgment on appeal became

 final.    See 28 U.S.C. § 2255(f); Clay v. United States, 537 U.S.

 522, 524-25 (2003) (holding that, when a defendant appeals his or

 her conviction to the Circuit Court of Appeals, but does not

 request a writ of certiorari from the Supreme Court, a judgment

 becomes final and the limitations period begins to run upon the

 expiration of the time to petition for a writ of certiorari to

 the Supreme Court); United States v. Garcia, 210 F.3d 1058 (9th

 Cir. 2000) (“Following the Supreme Court’s definition of finality

 in the context of habeas review, we hold that the one-year

 limitations period for a federal prisoner who does not file a

 petition for a writ of certiorari begins to run when the time for

 filing the petition expires.”); Sup. Ct. R. 13(1) (requiring

 certiorari to be sought within 90 days).

             At the hearing, Valenzuela conceded that her drug

 conspiracy sentence exceeded her concurrent money laundering



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 conspiracy sentence, and that pleading guilty to only the money

 laundering conspiracy count would not have shortened her drug

 conspiracy sentence.       With respect to drug amount, Valenzuela did

 object to the drug amount at the time of sentencing, arguing that

 she should have only been responsible for about 700 pounds of

 methamphetamine, rather than 2,000 pounds, but her objection did

 not affect the guideline range.          See Transcript of Proceedings of

 January 5, 2009, at 8, ECF No. 575.

             Finally, in a single sentence on pages 16 and 17 of her

 memorandum, Valenzuela complains that she was, in essence,

 “charged twice for the same offense” because she received a two-

 level enhancement for being convicted of money laundering.

 Again, Valenzuela provides no reason this argument could not have

 been raised on appeal.       Accordingly, Valenzuela is procedurally

 barred from raising the argument now.            See Frady, 456 U.S. at

 167-68.

             Even if the court were to examine the issue, Valenzuela

 is simply wrong.        Pursuant to application note 6 of § 2S1.1, the

 court grouped Valenzuela’s counts for sentencing purposes

 pursuant to § 3D1.2(c), as she was convicted of both a count

 involving funds that were laundered and a count involving the

 underlying offense from which the funds were derived.                The court



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 then determined the offense level applicable to the grouped

 offenses.    Because the money laundering conspiracy count, as

 opposed to the drug conspiracy count, provided for the higher

 offense level for the grouped offenses, the court used § 2S1.1,

 the money laundering guideline, in determining Valenzuela’s

 offense level.

             Under § 2S1.1, the money laundering offense level is

 affected by the offense from which the laundered funds were

 derived.    Valenzuela’s resulting base offense level was 38.              The

 court added two levels pursuant to § 2S1.1(b)(2)(B) because

 Valenzuela had laundered monetary instruments in violation of 18

 U.S.C. § 1956.     Valenzuela received a four-level increase for her

 role in the offense pursuant to § 3B1.1(a), and a two-level

 increase for obstruction of justice pursuant to § 3C1.1.               This

 gave her an adjusted offense level of 46 for the grouped offenses

 and a guideline range of life for the offenses.

             With respect to the drug conspiracy count, 21 U.S.C.

 § 841(b)(1)(A) required a term of imprisonment between ten years

 to life.    The court sentenced Valenzuela to 384 months of

 imprisonment for the drug conspiracy offense, less than the

 guideline range of life.




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             The statutory maximum term for imprisonment on the

 money laundering conspiracy count was twenty years pursuant to 18

 U.S.C. § 1956(a)(1).        The court sentenced Valenzuela to twenty

 years of imprisonment for the money laundering conspiracy count,

 rather than the guideline range of life.

             Valenzuela is factually incorrect in asserting that the

 two-level enhancement for her § 1956 conviction amounted to

 double counting.        That enhancement was applied only once, and

 nothing else in the guideline calculation addressed a § 1956

 conviction specifically.        There was no double counting involved

 with her sentencing.

             D.    The Court Declines to Issue a Certificate of
                   Appealability.

             The court also declines to grant Valenzuela a

 certificate of appealability.           An appeal may not be taken to the

 court of appeals from a final order in a § 2255 proceeding

 “[u]nless a circuit justice or judge issues a certificate of

 appealability.”     28 U.S.C. § 2253(c)(1)(B).            The court shall

 issue a certificate of appealability “only if the applicant has

 made a substantial showing of the denial of a constitutional

 right.”    28 U.S.C. § 2253(c)(2).           When a district court denies a

 § 2255 petition on the merits, a petitioner, to satisfy the

 requirements of section 2253(c)(2), “must demonstrate that

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 reasonable jurists would find the district court’s assessment of

 the constitutional claims debatable or wrong.”             Slack v.

 McDaniel, 529 U.S. 473, 484 (2000).          When, however, a

             district court denies a habeas petition on
             procedural grounds without reaching the
             prisoner’s underlying constitutional claim, a
             [certificate of appealability] should issue
             when the prisoner shows . . . that jurists of
             reason would find it debatable whether the
             petition states a valid claim of the denial
             of a constitutional right and that jurists of
             reason would find it debatable whether the
             district court was correct in its procedural
             ruling.

 Id.

             No reasonable jurist would find this court’s assessment

 of the merits of Valenzuela’s constitutional claims debatable or

 wrong.    Nor would any reasonable jurist determine that the

 various procedural grounds for denying Valenzuela’s § 2255

 petition are debatable.




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 IV.          CONCLUSION.

              For the foregoing reasons, Valenzuela’s § 2255 Petition

 is denied, and no certificate of appealability issues.

              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, May 21, 2012.




                                                 /s/ Susan Oki Mollway
                                                Susan Oki Mollway
                                                United States District Judge


 Valenzuela v. United States, CRIM. NO. 07-00615 SOM; CIV. NO 11-00750 SOM/RLP; ORDER
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